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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA

        -v-                                                     No. 18-cr-809 (RJS)
                                                                     ORDER
 JOHN LUKE SHANNON,

                              Defendant.


RICHARD J. SULLIVAN, Circuit Judge:

       Before the Court is a request by Defendant John Luke Shannon for compassionate release

under the First Step Act of 2018, 18 U.S.C. § 3582(c)(1)(A), in light of the COVID-19 pandemic.

(Doc. No. 49 (“Mot.”).) For the reasons set forth below, the Court declines to grant Shannon

compassionate release, but adjourns his surrender date to Tuesday, September 1, 2020.

       On November 1, 2018, Shannon pleaded guilty to one count of wire fraud in violation of

18 U.S.C. § 1343 (Doc. No. 17) arising from his scheme to defraud a foreign company by falsely

representing that the U.S. Department of Treasury, Office of Foreign Assets Control had penalized

him for his business dealings with that company. (Doc. No. 23 ¶¶ 5–30). The Court accepted his

guilty plea on November 18, 2018. (Doc. No. 16.) On October 18, 2019, the Court sentenced

Shannon principally to one year and one day imprisonment, three years’ supervised release, and

$179,420 in restitution, and ordered him to self-surrender at the institution designated by the

Bureau of Prisons (“BOP”) on January 7, 2020. (Doc. No. 39.) On December 20, 2019, the Court

adjourned Shannon’s surrender date, at his request and with the government’s consent, to February

6, 2020, given that Shannon had yet to receive his BOP designation and that Shannon’s medical

needs could interfere with his ability to make travel arrangements on short notice. (Doc. No. 43.)

The BOP subsequently notified Shannon that he was designated to FCI Butner’s Low Security
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facility (“FCI Butner Low”) in North Carolina. (Doc. No. 50 (“Gov’t Opp’n”) at 2.) The Court

twice more adjourned Shannon’s surrender date – on February 3, 2020 and March 4, 2020 – in

light of Shannon’s developing medical conditions, at Shannon’s request and with the government’s

consent. (See Doc. No. 44.) On March 17, 2020, the Court adjourned Shannon’s surrender date a

fourth time, at his request and with the government’s consent, to July 6, 2020 in light of the

COVID-19 pandemic and Shannon’s health. (Doc. No. 45.) Shannon has yet to surrender to BOP

custody and remains at his home in Arizona. (Doc. No. 54 (“Reply”) at 5.)

       In his motion for compassionate release, Shannon contends first that he has exhausted his

administrative remedies, as required by § 3582(c)(1)(A), because he sent a request for

compassionate release to the warden of FCI Butner Low on April 10, 2020 and 30 days have now

passed without a response. (Mot. at 7.) He next argues that extraordinary and compelling reasons

warrant a reduction of his sentence to time served and the addition of a term of home confinement

to the conditions of his supervised release because (1) his medical conditions place him in the

high-risk category for serious complications if he were to contract COVID-19 (id. at 1) and (2) FCI

Butner has been “the single, hardest hit facility [by COVID-19] anywhere in the BOP system” (id.

at 6). He also maintains that the § 3553(a) factors justify a reduction of his sentence to time served

because of the health risk that incarceration would pose to him. (Id. at 9.)

       The government opposes Shannon’s motion, contending that (1) his motion is premature

because he has yet to surrender to BOP custody (Gov’t Opp’n at 4–5 (citing United States v. Konny,

No. 19-cr-283 (JGK), 2020 WL 2836783, at *2 (S.D.N.Y. May 30, 2020) (“Because the defendant

is not currently in the custody of the BOP, his application is premature.”)); and (2) the § 3553(a)

factors weigh against his release (id. at 6–7). In reply, Shannon maintains that his motion is

properly before the Court (Reply at 1–4) and insists that his circumstances, together with the



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extraordinary and compelling reasons engendered by the COVID-19 pandemic, warrant this Court

reducing his sentence (id. at 4–5).

         Even if the Court had the authority to grant a motion for compassionate release submitted

by a defendant who has not yet surrendered to BOP custody – a question that the Court reserves

for another day – the Court declines to do so here. As stated on the record at Shannon’s sentencing

in October, the Court carefully considered the variety of factors set forth in § 3553(a) before

determining that a term of imprisonment of one year and one day was appropriate. (Doc. No. 40

at 18–22.) The reasons for that sentence are as applicable today as they were then and have not

been obviated or rendered irrelevant by the arrival of the COVID-19 virus. Given that the facts

and knowledge surrounding the COVID-19 pandemic are rapidly changing and that the BOP’s

policies and responses to the virus, at FCI Butner and elsewhere, are steadily evolving, the Court

declines to effectively vacate Shannon’s sentence at this time. Instead, the Court is persuaded that

the wiser course, under the circumstances, is to adjourn Shannon’s surrender date to Tuesday,

September 1, 2020. (See Gov’t Opp’n at 1, 7; Reply at 5.)

         IT IS HEREBY ORDERED THAT Shannon’s motion for compassionate release is

DENIED. The Clerk of Court is respectfully directed to terminate the motion pending at document

number 49. IT IS FURTHER ORDERED THAT Shannon’s surrender date is adjourned to

Tuesday, September 1, 2020.

SO ORDERED.

Dated:          June 22, 2020
                New York, New York
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                                                     RICHARD
                                                     RICHARA D J. SU
                                                                   SULLIVAN
                                                                    ULLIVAN
                                                     UNITED STATES CIRCUIT JUDGE
                                                     Sitting by Designation




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